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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION



    UNITED STATES OF AMERICA

    v.                                                 Case No. 8:03-cr-445-T-23EAJ

    JOSE EUSEBIO VALENCIA-AGUIRRE
                                                 /


                                SENTENCING MEMORANDUM

          Jose Eusebio Valencia-Aguirre returns to district court for re-sentencing after

    United States v. Valencia-Aguirre, 130 Fed. Appx. 305 (11th Cir. 2005).

                                                I.

          On October 23, 2003, a law enforcement detachment (LEDET) team from the

    United States Coast Guard, serving aboard the United States Navy frigate Samuel B.

    Roberts, observed a "fishing vessel" running without navigational lights in the Pacific

    Ocean off the coast of Colombia. Employing standard procedures to establish the "right

    of approach," the frigate signaled the unidentified vessel, which ignored the approach

    inquiry and attempted unsuccessfully to ram the frigate. After procuring consent from

    the government of Colombia, members of the Coast Guard LEDET team intercepted

    and boarded the vessel, identified as Santa Barbara.

          Secreted in the dry goods storage hold aboard Santa Barbara and discovered

    after an ion scan and a "space accountability assessment" by the LEDET team were

    approximately 1,790 kilograms (almost two tons) of high purity cocaine worth on the

    wholesale market not less than $27,000,000 and packaged securely into ninety bales.
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    The LEDET team arrested the eight crewmen aboard Santa Barbara, including Jose

    Eusebio Valencia-Aguirre, who was arraigned on October 26, 2003, in Tampa, Florida.

    Valencia-Aguirre entered a plea agreement in which he committed to plead guilty to

    conspiracy to possess with the intent to distribute five kilograms or more of cocaine

    while aboard a vessel subject to the jurisdiction of the United States, which offends 46

    Appendix U.S.C. §§ 1903 (a), (g), and (j), and which offense is punishable by

    imprisonment between the minimum mandatory term of ten years and the maximum

    term of life.

           Valencia-Aguirre's base offense level under the United States Sentencing

    Guidelines was 38, the offense level applicable to offenses involving 150 kilograms or

    more of cocaine, adjusted to 36 because of the "safety valve" provided in Section 5C1.2

    of the Sentencing Guidelines. Valencia-Aguirre's acceptance of responsibility and his

    consequent cooperation with law enforcement (although insufficient to trigger a

    substantial assistance departure under Section 5K1.1) yielded an additional adjustment

    downward to an offense level of 33, which yields in Criminal History Category I a

    sentencing range between 135 and 168 months' imprisonment, followed by a term of

    supervised release between three and five years. Valencia-Aguirre received a sentence

    of 135 months imprisonment and three years of supervised release.

           Valencia-Aguirre unsuccessfully claimed entitlement to a further reduction in his

    offense level based on his supposedly "minor role" in this offense. The circuit court

    affirmed the district court's denial of this proposed "minor role" adjustment because

    Valencia-Aguirre was unable to distinguish his culpability from that of his fellow

    crewmen, a matter for which Valencia-Aguirre bears the burden of proof, and because


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    the "relevant conduct" for which Valencia-Aguirre is accountable includes only the

    cocaine aboard Santa Barbara and not the aggregate quantity of cocaine manufactured,

    packaged, transported, and delivered by the international criminal conspiracy in which

    he was an episodic actor. Not surprisingly, the prospect of a "minor role" reduction

    evanesces as a person undertakes with his confederates for premium pay (by

    Colombian standards) a voyage on the high seas for several days furtively transporting

    toward the United States a two-ton shipment of high purity cocaine (the weight of which

    will probably at least double by dilution before retail sale), all of which advances, despite

    a concerted law enforcement effort that includes the armed forces of the United States,

    an ongoing international criminal venture dedicated to trafficking massive quantities of

    illicit narcotics.1 That Valencia-Aguirre is an inconsequential, entirely fungible, unskilled,

    and unexceptional laborer without authority, ownership, or even longevity in this criminal



            1
               Consistent with the en banc decision in United States v. De Varon, 175 F.3d 930 (11th Cir.
    1999), the Eleventh Circuit consistently affirms denials of a "minor role" for mere crewmen in this lengthy
    and persistent series of "boat cases," which involve interdiction on the high seas of ton-quantity cargoes of
    Colombian cocaine. United States v. Aguirre, No. 05-12354, 2006 WL 26090 (11th Cir., January 5, 2006);
    United States v. Bertel, No. 05-12160, 2005 WL 3555942 (11th Cir., December 30, 2005); United States v.
    Sanchez, No. 05-11772, 2005 WL 3438438 (11th Cir., December 15, 2005); United States v. Lerma, No.
    05-11973, 2005 WL 3338282 (11th Cir., December 9, 2005); United States v. Cuero, No. 05-13304, 2005
    WL 3338270 (11th Cir., December 9, 2005); United States v. Astudillo, No. 05-12181, 2005 WL 3338264
    (11th Cir., December 9, 2005); United States v. Rosa-Hernandez, No. 05-12634, 2005 WL 3292099 (11th
    Cir., December 6, 2005); United States v. Bataz Martinez, No. 04-15405, 2005 WL 3292092 (11th Cir.,
    December 6, 2005); United States v. Cuero-Angulo, No. 05-12150, 2005 WL 3159621 (11th Cir.,
    November 29, 2005); United States v. Estupinan, No. 05-11435, 2005 WL 3116630 (11th Cir., November
    23, 2005); United States v. Portocarrero-Quintero, No. 05-11919, 2005 WL 3067911 (11th Cir., November
    16, 2005); United States v. Estupinan-Yesquan, No. 05-11773, 2005 WL 2673507 (11th Cir., October 20,
    2005); United States v. Terriquez, No. 04-15517, 2005 WL 2572393 (11th Cir., October 13, 2005); United
    States v. Estacio, No. 04-12322, 2005 WL 2499684 (11th Cir., October 11, 2005); United States v. Torres,
    No. 05-11157, 2005 WL 2456336 (11th Cir., October 6, 2005); United States v. Rivas-Ruiz, No. 04-13056,
    2005 WL 2334375 (11th Cir., September 26, 2005); United States v. Hincapie, No. 04-15194, 2005 WL
    2219068 (11th Cir., September 14, 2005); United States v. Hernandez, 147 Fed.Appx. 882 (11th Cir.
    2005); United States v. Rodriguez, 147 Fed.Appx. 85 (11th Cir. 2005); United States v. Obregon, 146
    Fed.Appx. 379 (11th Cir. 2005); United States v. Orovio, 145 Fed.Appx. 654 (11th Cir. 2005); United
    States v. Alegria, 144 Fed.Appx. 801 (11th Cir. 2005); United States v. Plata-Mora, 140 Fed.Appx. 133
    (11th Cir. 2005); United States v. Herea-Martinez, 140 Fed.Appx. 147 (11th Cir. 2005); and the present
    case, United States v. Valencia-Aguirre, 130 Fed.Appx. 305 (11th Cir. 2005).

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    enterprise fails under applicable law to justify a reduction in the assessment of his role

    in transporting this particular illicit cargo.

           Because before his arrest Valencia-Aguirre resided with his family in

    Buenaventura, Colombia, details about his personal history are scarce and largely

    unverifiable. However, Valencia-Aguirre reports that he was born in 1951 in Mosquera,

    Colombia; that he has lived for twenty years in Buenaventura; that he has a wife, an

    adult son, and several brothers, sisters, and in-laws; that he has worked as a fisherman

    throughout his life; that he withdrew from school after the third grade to earn money for

    his family; that he chronically suffers from tetanus, the satisfactory control of which

    requires periodic medication by injection; that he is not a substance abuser; and that he

    is persistently and oppressively mired in intractable poverty, along with his Colombian

    neighbors.

           Valencia-Aguirrre was sentenced on July 22, 2004, after Blakely v. Washington,

    542 U.S. 296, 124 S. Ct. 2531, 159 L. Ed. 2d 403 (2004), announced on June 24, 2004,

    but before United States v. Booker, 543 U.S. 220, 125 S. Ct. 738, 160 L. Ed. 2d 621

    (2005), announced on January 12, 2005. During the six-month interval between Blakely

    and Booker, the circuit courts of appeals divided on several questions both pertinent to

    sentencing and arguably affected by Blakely. See, e.g., United States v. Duncan, 381

    F.3d 1070, 1074 (11th Cir. 2004) ("there is considerable disagreement amongst jurists

    and amongst the circuits on this issue," viz., the application of Blakely to the Sentencing

    Guidelines), vacated on rehearing, 400 F.3d 1297 (11th Cir. 1005), cert. denied, 126

    S. Ct. 432 (2005). However, pending a more definitive pronouncement from the

    Supreme Court, the Eleventh Circuit resolved to adhere to the Sentencing Reform Act

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    of 1984, the United States Sentencing Commission's guidelines, and the Supreme

    Court's specific disavowal that Blakely invalidated all or part of the federal sentencing

    regime.2 United States v. Reese, 382 F.3d 1308, 1312 (11th Cir. 2004) ("We hold that

    the district courts should continue to sentence pursuant to the Guidelines until such time

    as the Supreme Court rules on this issue."), cert. granted and remanded, 125 S. Ct.

    1089 (2005), on remand, 397 F.3d 1337 (11th Cir. 2005).

           Booker appeared during the pendency of Valencia-Aguirre's appeal from his

    135-month sentence. Applying Booker to Valencia-Aguirre, the Eleventh Circuit

    affirmed in part (the guidelines calculation) but vacated the sentence and remanded for

    re-sentencing. The circuit court explained the remand:

           The district court found its hands tied. It stated that the base level was
           "undoubtedly high" but that it would adhere strictly to the guidelines. . . .
           Because Valencia-Aguirre timely raised his constitutional objection in the
           district court, this Court reviews the constitutional issue de novo, but will not
           reverse for harmless error. . . . In light of the district court's comments
           regarding Valencia-Aguirre's sentence and mandatory guidelines regime
           we find Booker error in Valencia-Aguirre's sentence. The government has
           not (and cannot) show that this error was harmless.

    130 Fed.Appx. at 307 (citation omitted).

           A careful review of the transcript reveals neither an avowal by the district judge of

    "strict adherence" to the guidelines nor a comment by the district judge that either the

    offense level or the sentence was "undoubtedly high." However, because calculation of

    the base offense level included a determination of the drug quantity, which was not




            2
              Although the argument in Blakely starkly implicated the federal sentencing guidelines, Blakely's
    notable footnote nine remarks dismissively that, "The Federal Guidelines are not before us, and we
    express no opinion on them." 124 S. Ct. at 2538, n.9.

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    determined by a jury beyond a reasonable doubt, the district court observed with

    respect to the defense's Blakely objection:

           Well, the objection on the base offense level, although undoubtedly highly
           plausible after Blakely is, for the purposes of this sentence, overruled.

    Apparently, the circuit court (mistakenly) construed this passage ("undoubtedly highly

    plausible") as the requisite "magic words," providing "some indication that the district

    court would have imposed a lesser sentence had the law permitted it to treat the

    guidelines as advisory rather than mandatory." United States v. Thompson, 422 F.3d

    1285, 1302 (11th Cir. 2005) (Tjoflat, J., specially concurring and stating with

    disapproval, "We look to what the court said prior to or in the course of imposing a

    sentence. We look for what I call 'magic words'."). The circuit court remanded for the

    determination of a "reasonable sentence," as contemplated by Booker.3


            3
               The circuit court's opinion also remarks "the district court's comments at sentencing
    disapproving of the severity of the sentence but conceding that the guidelines dictated the harsh result."
    130 Fed.Appx. at 308. The transcript contains no comments of this sort and none occurred at the hearing.
    Quite to the contrary, the district judge's unvarying practice accords with Judge Tjoflat's admonition,
    concurring in Thompson, that:

            When a judge tells a defendant that his sentence is unjust and unfair, the defendant is
            inclined to believe him. The defendant is, therefore, unlikely to accept the justice of his
            punishment and "'enter the correctional system in a frame of mind that affords hope for
            success in rehabilitation over a shorter period of time than might otherwise be
            necessary.'" McKune v. Lile, 536 U.S. 24, 36-37, 122 S. Ct. 2017, 2026, 153 L.Ed.2d 47
            (2002) (quoting Brady v. United States, 397 U.S. 742, 753, 90 S. Ct. 1463, 1471, 25
            L.Ed.2d 747 (1970); see also 18 U.S.C. § 3553(a)(2)(D) . . . . [B]y openly disparaging the
            defendant's sentence, the judge fosters disrespect for the rule of law. . . . If the judge
            does not respect the law that he applies, then why should society at large? A judge's role
            is to apply the law as it is written, not to offer his or her own opinions of its wisdom or
            fairness. By his oath of office, the judge has sworn to uphold the law. . . .

    422 F.3d at 1303-04. In an accompanying footnote, Judge Tjoflat concludes:

            Such comments are quintessentially political statements. I do not suggest that there is
            never a time or place for them. The time and place for them, however, is outside the
            judicial role, in letters or testimony to the Sentencing Commission or Congress. When a
            judge makes such statements in specific cases and to specific defendants, the judge's
                                                                                               (continued...)

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                                                          II.

           Of course, since the appearance of Booker the district and circuit courts have

    explored the notion of a "reasonable sentence."4 As to the district court's determination


            3
                (...continued)
            potential for positive influence is not only greatly diminished, but is in fact far outweighed
            by the disservice done to rule-of-law values, to the criminal justice system in general, and
            to the defendant in particular.

    422 F.3d at 1304.

            4
              Concerning the circuit court's appellate review of the district court's "reasonable sentence,"
    Justice Breyer's opinion confirms that Booker applies to "all cases on direct review" but adds in language
    that provokes a spirited contest among the courts of appeals:

            That fact does not mean that we believe that every sentence gives rise to a Sixth
            Amendment violation. Nor do we believe that every appeal will lead to a new sentencing
            hearing. That is because we expect reviewing courts to apply ordinary prudential
            doctrines, determining, for example, whether the issue was raised below and whether it
            fails the "plain-error" test. It is also because, in cases not involving a Sixth Amendment
            violation, whether resentencing is warranted or whether it will instead be sufficient to
            review a sentence for reasonableness may depend upon application of the harmless-error
            doctrine.

    125 S. Ct. at 745. Exemplars of the resulting disharmony among the circuit courts include United States v.
    Antonakopoulos, 399 F.3d 68, 80 n.11 (1st Cir. 2005) ("[A] Booker type error is not a structural error; the
    defendant must convince us of prejudice."); United States v. Crosby, 397 F.3d 103, 117 (2d Cir. 2005) ("A
    remand for determination of whether to resentence is appropriate in order to undertake a proper
    application of the plain error and harmless error doctrines."); United States v. Davis, 407 F.3d 162, 165 (3d
    Cir. 2005)(en banc) ("By remanding, we ensure that each defendant to whom Booker applies is sentenced
    accordingly."); United States v. Hughes, 401 F.3d 540, 544 (4th Cir. 2005) (finding "plain error" in a pre-
    Booker guideline sentence and choosing to "exercise our discretion to notice the error, vacate the
    sentence, and remand to the district court for resentencing consistent with [Booker]"); United States v.
    Mares, 402 F.3d 511 (5th Cir. 2005) ("Because the defendant did not carry his burden of establishing that
    the error affected the outcome of the proceeding, we find no plain error and affirm the sentence."), cert.
    denied, 126 S. Ct. 43 (2005); United States v. Oliver, 397 F.3d 369, 373 (6th Cir. 2005) ("the district court
    plainly erred by applying the federal sentencing guidelines as mandatory rather than advisory . . ."); United
    States v. Paladino, 401 F.3d 471, 484 (7th Cir. 2005) (ordering a limited remand to permit the sentencing
    judge to determine whether he would reimpose his original sentence), cert. denied, 126 S. Ct. 106 (2005);
    United States v. Pirani, 406 F.3d 543, 546 (8th Cir. 2005)(en banc) ("[A] remand for resentencing is not
    required unless the defendant [can] demonstrate . . . that the district court would have imposed a more
    favorable sentence under the advisory sentencing guidelines regime mandated by Booker."), cert. denied,
    126 S. Ct. 266 (2005); United States v. Ameline, 409 F.3d 1073, 1074 (9th Cir. 2005)(en banc) ("[R]emand
    to the district court is appropriate for the purpose of ascertaining whether the sentence imposed would
    have been materially different had the district court known that the sentencing guidelines were advisory.");
    United States v. Gonzalez-Huerta, 403 F.3d 727, 738 (10th Cir. 2005)(en banc) ("[T]he District Court's
    mandatory application of the Guidelines was not 'particularly egregious' or a 'miscarriage of justice.'"), cert.
    denied, 126 S. Ct. 495 (2005); United States v. Rodriguez, 398 F.3d 1291, 1306 (11th Cir. 2005) (holding
                                                                                                   (continued...)

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    of a "reasonable sentence," Justice Breyer's opinion on the "remedial question" in

    Booker confirms only that:

           [T]he Sentencing Commission remains in place, writing Guidelines,
           collecting information about actual district court sentencing decisions,
           undertaking research, and revising the Guidelines accordingly. . . . The
           district courts, while not bound to apply the Guidelines, must consult those
           Guidelines and take them into account when sentencing. . . . The courts of
           appeals review sentencing decisions for unreasonableness.

    125 S. Ct. at 767 (citations omitted). Booker's prescription for a "reasonable sentence"

    and the inclusion in the calculus of an unspecified evaluation by the district court of the

    factors arrayed in 18 U.S.C. § 3553(a) leave initially to the district and circuit courts the

    formidable task of elaborating a practical understanding of the "reasonable sentence."

    An example typical of the circuit court's necessarily incremental approach to expounding

    the notion of a "reasonable sentence" is the early United States v. Webb, 403 F.3d 373,

    383-84 (6th Cir. 2005), which states:

           [A] sentence is unreasonable when the district judge fails to "consider" the
           applicable Guidelines range or neglects to "consider" the other factors listed
           in 18 U.S.C. § 3553(a) and instead simply selects what the judge deems an
           appropriate sentence without such required consideration. . . . We decline,
           however, to define rigidly at this time either the meaning of reasonableness
           or the procedures that a district judge must employ in sentencing post-
           Booker. Instead we believe it prudent to permit a clarification of these
           concepts to evolve on a case-by-case basis at both the district court and
           appellate levels. Any specific clarification of the reasonableness standard
           is also unnecessary in this case, as we conclude that there is nothing in the
           record which suggests that the district court's sentencing determination was
           unreasonable.

    (citation omitted).



            4
                (...continued)
    that the defendant necessarily bears the burden of satisfying the third prong of the plain error test), reh'g
    denied, 406 F.3d 1261 (11th Cir. 2005), cert. denied, 126 S. Ct. 2935 (2005); United States v. Coles, 403
    F.3d 764, 765 (D.C. Cir. 2005) (ordering a limited remand to permit the district court to determine whether
    it would reimpose its original sentence).

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           From the vantage of a district court searching for the "reasonable sentence,"

    cases such as Webb help little (in the same manner that Booker helped little) and reveal

    only that the circuit court expects the district court to comply with the Supreme Court's

    explicit instruction to "consider" the Sentencing Guidelines--not a surprising expectation.

    But Webb and numerous other cases understandably foundered in the attempt to state

    explicitly the content of the elusive "reasonable sentence" because after nearly twenty

    years of guidelines sentencing, after hundreds of judicial opinions construing the

    guidelines, after scores of scholarly articles appraising the supposed virtues and

    claimed vices of the guidelines, after the accumulation and evaluation of volumes of

    data by the Sentencing Commission, and after protracted deliberation by Congress,

    including the investment of a mountain of public resources, the Supreme Court abruptly

    disengaged the most thorough and carefully considered regime of criminal sentencing in

    history and (by the margin of one vote) substituted a two-word regime of criminal

    sentencing (perhaps the most abbreviated in history)--the regime of the "reasonable

    sentence," now informed only to some indeterminate and controversial extent by the

    Sentencing Guidelines.

           After Booker, the courts began promptly to define the protocol of post-Booker

    sentencing, aware that the duration of the "reasonable sentence" regime remained

    uncertain.5 The prescriptions of the Eleventh Circuit most immediately govern


            5
                As Justice Breyer noted, "The ball now lies in Congress' court." 125 S. Ct. at 768. Of course,
    in the realm of the federal criminal law (and others, as well, in a constitutional republic), the "ball" was and
    is always in "Congress' court" (a fact the judiciary is wise to keep in the forefront). Congress prescribes
    crimes and penalties, creates courts and judgeships, grants and delimits jurisdiction, and otherwise
    enforces its will when and where it will. As Professor Bowman aptly but unenthusiastically characterizes
    the reach of congressional authority:
                                                                                                    (continued...)

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     sentences in this district court, and in United States v. Shelton, 400 F.3d 1325 (11th Cir.

     2005), the Eleventh Circuit offered initial direction to the district court in finding a

     "reasonable sentence":

            After Booker, the Federal Sentencing Guidelines remain an essential
            consideration in the imposition of federal sentences albeit along with the
            factors in § 3553(a). A sentencing court under Booker still must consider
            the Guidelines, and such consideration necessarily requires the sentencing
            court to calculate the Guidelines sentencing range in the same manner as
            before Booker. Indeed, the factors the Sentencing Commission was
            required to use in developing the Guidelines are a virtual mirror image of
            the factors sentencing courts are required to consider under Booker and
            § 3553(a). The change wrought by Booker is the excising of the mandatory
            nature of the Guidelines.

     400 F.3d at 1333, n.9. Remanding for re-sentencing in accord with Booker, the circuit

     understandably forbore, in the prudent spirit of Webb, to undertake explicit instruction to

     the district court with respect to the particulars of a "reasonable sentence," which

     particulars were as unknown to the circuit court as to the district court. In conclusion,

     the circuit court promised more later:

            Although the district court's comments convince us that on remand the
            district court will sentence below the range indicated by the Guidelines, we
            do not know exactly what sentence it will impose after consulting the
            § 3553(a) factors. Until we find out, we will not attempt to decide whether a
            particular sentence below the Guidelines range might be reasonable in this
            case. If there is an appeal of the actual post-remand sentence which raises
            that issue, we can decide it then.



            5
                (...continued)
            The confluence of the foregoing points means that Congress can define virtually any
            objectionable conduct as a crime and impose virtually any punishment it chooses for that
            conduct and that the federal courts presently possess virtually no direct constitutional
            control over Congress's power to do so.

     Frank O. Bowman, III, Mr. Madison Meets a Time Machine: The Political Science of Federal Sentencing
     Reform, 58 Stan. L. Rev. 235, 242 (2005).



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     400 F.3d at 1334, n.11. United States v. Crawford, 407 F.3d 1174, 1180 (11th Cir.

     2005), expands somewhat on Shelton and expressly retains the pre-Booker

     requirement of an accurate guidelines calculation:

           In other words, as was the case before Booker, the district court must
           calculate the Guidelines range accurately. A misinterpretation of the
           Guidelines by a district court "effectively means that [the district court] has
           not properly consulted the Guidelines . . . ." After it has made this
           calculation, the district court may impose a more severe or more lenient
           sentence as long as the sentence is reasonable, see Booker, 125 S. Ct. at
           767 ("The courts of appeals review sentencing decisions for
           unreasonableness."), but the requirement of consultation itself is
           inescapable.

     (citation omitted).

           In United States v. Winingear, 422 F.3d 1241 (11th Cir. 2005), the district court

     assessed a guidelines sentence and declined to depart downward, despite the

     defense's demands on behalf of "reasonableness" that the sentence account for six

     months the defendant had served in state prison for resisting and threatening to murder

     the arresting officers. Applying the pre-Booker notion that the refusal to depart is not

     reviewable, the circuit court offered another increment of insight respecting a

     "reasonable sentence" and deflected a claim by the United States that a guideline

     sentence is "per se reasonable":

           The government urges us to hold that sentences within the Guideline range
           are per se reasonable, but we need not address whether or how much
           deference is owed sentences within the applicable Guideline range to
           determine that Winingear's sentence was reasonable. The district court
           imposed a sentence one-tenth the length of the twenty-year statutory
           maximum sentence for mail fraud that does not affect a financial institution.
           18 U.S.C. § 1341. Winingear defrauded 21 people of a total of $19,600,
           had multiple previous convictions, committed this crime while still under
           sentence for a previous crime, violated his bond, and threatened to murder
           arresting officers as he fled from them. The district court took care that its
           sentence provided Winingear with needed medical care. In the light of the

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           factors outlined in section 3553(a), the sentence of the district court was
           reasonable.

     422 F.2d at 1246. The circuit court in Winingear attributes "light" to the factors in

     Section 3553(a) but, again deterred by the immense task implicit in the undertaking,

     defers explaining how one might extrapolate or demonstrate the reasonableness of

     Winingear's twenty-one month sentence from the factors displayed at Section 3553 or,

     on the other hand, how one might either prove or disprove the reasonableness of any

     sentence (whether greater or lesser) by consulting the factors displayed at Section

     3553. See also, United States v. Scott, 426 F.3d 1324 (11th Cir. 2005).

           More recently, United States v. Talley, No. 05-11353, 2005 WL 3235409 (11th

     Cir., December 2, 2005), describes sentencing as a two-step process, beginning with a

     consultation of the Sentencing Guidelines, including the correct calculation of an

     advisory guidelines sentence, and concluding with consideration of the factors arrayed

     at Section 3553(a). Talley confirms that, although the district court must consider the

     Section 3553(a) factors, the district court "need not discuss each of them" because "an

     acknowledgment by the district court that it has considered the defendant's arguments

     and the factors in Section 3553(a) is sufficient under Booker." 2005 WL 3235409 at *2.

     Rejecting the United States' argument that a guidelines sentence is "per se reasonable,"

     the circuit court confirms the appellant's burden in an appeal from a procedurally proper

     sentence (that is, a sentence during the determination of which the district court

     correctly computed the advisory guidelines sentence and confirmably considered both

     the Section 3553(a) factors and any particular claim by the defendant of

     unreasonableness in the sentence):



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           Although either a defendant or the government can appeal a sentence
           within the Guidelines range and argue that it is unreasonable, ordinarily we
           would expect a sentence within the Guidelines range to be reasonable.
           After Booker, our ordinary expectation still has to be measured against the
           record, and the party who challenges the sentence bears the burden of
           establishing that the sentence is unreasonable in the light of both that
           record and the factors in Section 3553(a).

     2005 WL 3235409 at *4. Talley speaks of the "ordinary expectation" of the

     reasonableness of a guidelines sentence and attaches to the appellant the burden of

     showing unreasonableness, again without discussing how any litigant, governmental or

     non-governmental, public or private, corporate or individual, great or small, might

     demonstrate convincingly the reasonableness or unreasonableness of any sentence,

     whether within or without the guidelines, by consulting Section 3553(a).

           In United States v. Williams, No. 05-11318, 2005 WL 3193855 (11th Cir.,

     November 30, 2005), after the panel unanimously remanded for re-sentencing because

     of an arguably flawed interpretation of the (not typically perplexing) word "any" in

     Section 2K2.1(c)(1), Judge Carnes added a concurrence, in which he bristles noticeably

     about the "sword dance" of sentencing pursuant to the guidelines, "some provisions of

     which are mind-numbingly complex and others of which are just mind-numbing." 2005

     WL 3193855 at *5. Provocative and fluent as always, Judge Carnes notes the irony of

     "vacating an unquestionably reasonable sentence" and remanding for re-sentencing

     because of an error not actually prejudicial to the defendant. As Judge Carnes

     explains:

           The reality is, however, that our reversals stem from interpretation of the
           guidelines, not from the unreasonableness of the sentences that district
           courts are imposing. Without much exception, in the post-Booker world we
           send cases back for resentencing because of some difference of opinion



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           about the advice that the guidelines provided the district court, not because
           we think the sentence imposed is unreasonable.

           ....

           Therein runs a thread of madness through the method now in place. We
           review and decide close, hair-splitting interpretive issues arising from
           guidelines that are only advisory, and we set aside sentences even though
           the district court, once its "misunderstanding" of the guidelines is corrected,
           is free to impose the same sentence, and usually will do so.

     2005 WL 3193855 at *5-6.

           In fact, as Judge Carnes notes in understandable frustration, the appellate

     exertion continues to focus on guidelines interpretation and application, even though an

     erroneous guidelines calculation corrected on appeal may not affect on remand the

     district court's assessment of a "reasonable sentence"--a "thread of madness" in Judge

     Carnes' view. Of course, this focus by the circuit courts on the guidelines is entirely

     understandable based upon the inviting concreteness and familiarity of the guidelines

     calculation over against the dauntingly ethereal and elusive concept of a "reasonable

     sentence," about the details of which the circuit courts join the district courts in a viscous

     uncertainty.

           However, Judge Carnes continued his concurrence in Williams to include a

     suggestion to district judges:

           [I]n this case if the district court had stated that regardless of how the
           guidelines relevant conduct issue was resolved, it would consider the prior
           assault under Section 3553(a)(1) & (2)(c) and on that basis would still
           impose the same 96-month sentence, we would not have to send this case
           back for more sentence proceedings. The sentencing court might have
           stated that its ruling on the relevant conduct issue resulted in a guidelines
           range of 77 to 96 months, but that if it was wrong about that and the range
           was only 27 to 33 months, the sentence would still would [sic] have been
           96 months based on the Section 3553 factors. On that basis we could and
           would have affirmed.

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     2005 WL 3193855 at *6. This observation indicates that the circuit court (or, at least, a

     circuit judge with formidable powers of analysis) perceives in the difference between 27

     to 33 months, on the one hand, and 77 to 96 months, on the other, no attribute that

     would trigger appellate disapproval under the Booker regime of sentencing. Given the

     ratio of about one to three between these two ranges and assuming Judge Carnes

     advises correctly in his concurrence, this level of unaccountable disparity in the range of

     a "reasonable sentence" (and the effective range widens because symmetry suggests

     the potential for an equivalent migration both above and below the advisory range of 77

     to 96) perhaps exceeds the disparity that Congress will accept, if applying a standard

     even approaching the standard that impelled enactment of the Sentencing Reform Act

     of 1984.

                                                 III.

           Although the pre-1984 sentencing regime drew much criticism throughout its long

     life, none contributed more definitively to the demise of that regime than Judge

     Marvin E. Frankel's little classic, entitled (rather pointedly) Criminal Sentences: Law

     Without Order (Hill and Wang, New York, 1972). Speaking from the favorable vantage

     of an experienced, respected district judge (with a decidedly robust rhetorical touch),

     Judge Frankel lambasted the regnant scheme of sentencing in the United States, the

     most notorious feature of which he identified as the invidious and ungoverned disparity

     among sentences visited upon similarly situated offenders, that is, those committing

     similar crimes and presenting comparable histories. The virtually complete absence of

     appellate review of sentences aided and abetted this oppressive regime, as Judge

     Frankel saw things. Judge Frankel aimed his withering broadside at the entirety of

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     contemporary criminal law, especially sentencing, toward which he deployed his most

     pointed barbs: "gross evils and defaults," "arbitrary, cruel, and lawless," "unthinkable in

     a 'government of laws,'" "unchecked and sweeping powers," "wild array of sentencing

     judgments," "wide-open, uncharted, standardless discretion of the judge," "untrained,

     untested, unsupervised men armed with great power," "tyrannical." Judge Frankel

     observed that "irrational disparities are real and pervasive," creating "baleful results."

            Judge Frankel's polemic caught the attention of many, including Senator

     Edward M. Kennedy, who became the principal sponsor of the Sentencing Reform Act

     of 1984, a bill supported by "liberals" and "conservatives" alike, proposed by Senator

     Kennedy, a "liberal" senator from Massachusetts, and signed by President Reagan, a

     "conservative" president from California. (The pertinent history is admirably and

     succinctly presented in Fear of Judging [Univ. of Chicago, 1998] by Judge Jose A.

     Cabranes and Professor Kate Stith.) Answering resoundingly Judge Frankel's criticism

     that "[t]he problem has been too little law, not too much," the Sentencing Reform Act of

     1984 begat the Sentencing Commission; which begat the Sentencing Guidelines; which

     became effective on November 1, 1987; which survived an early constitutional assault

     in Mistretta v. United States, 488 U.S. 361, 109 S. Ct. 647, 102 L.Ed.2d 714 (1989); and

     (with ample law, indeed) which closely constrained the imposition of federal sentences

     until Booker.6




            6
               Although a principal catalyst of reform, Judge Frankel developed and retained reservations
     about the structure and content of the Sentencing Commission/Sentencing Guidelines regime. Marvin E.
     Frankel, Sentencing Guidelines: A Need for Creative Collaboration, 101 Yale L. J. 2043 (1992). See also
     Jon O. Newman, Remembering Marvin Frankel: Sentencing Reform But Not These Guidelines, 14 Fed.
     Sent'g. Rep. 319 (2002), a tribute and commentary after Judge Frankel's death on March 3, 2002.

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           In the aftermath of Blakely, Senators Hatch, Kennedy, and Feinstein submitted to

     the Supreme Court in Booker a brief amici curiae in support of the "continued

     application of the federal sentencing guidelines as a whole." The senators emphatically

     advised preservation of the congressionally engineered sentencing structure:

           The 1984 Act is the result of the most careful examination that Congress
           and, indeed all three Branches collectively have ever devoted to the federal
           sentencing system. The Act sought to eliminate the gross disparities that
           had proliferated under the prior indeterminate sentencing system--
           disparities that in at least some cases were believed to stem from the
           improper consideration of race and other illegitimate factors. Nearly two
           decades later, debate is ongoing in the Halls of Congress and the other
           Branches on ways of improving the sentencing system, but--especially
           when viewed against the backdrop of the intolerable state of affairs that
           existed before 1984--bipartisan support continues to exist for the basic
           structure of the sentencing guidelines system created by the 1984 Act and
           the core principles on which it rests. In our representative Republic, only
           the clearest constitutional command should be cause for dismantling such
           a considered legislative effort.

     "Brief for the Honorable Orrin G. Hatch, Honorable Edward M. Kennedy, and Honorable

     Dianne Feinstein as amici curiae in support of petition" at 25-26.

           The predominant feature of the pre-1984 sentencing regime, the feature that

     Judge Frankel indicted so tellingly and the feature that catalyzed bipartisan reform in

     Congress, was the disparity in sentencing caused by the district court's unreviewable

     discretion to sentence anywhere within the statutory range. The senators' amicus brief

     summarized the pertinent history:

           At the same time, while appellate jurisdiction initially was available to
           correct egregious disparities such as unduly harsh sentences, that changed
           in 1891. Courts interpreted an 1891 statute (Act of Mar. 3, 1891, ch. 517,
           26 Stat. 826) to have impliedly repealed appellate jurisdiction over
           sentencing. See Freeman v. United States, 243 F. 353, 357 (9th Cir.
           1917), cert. denied, 249 U.S. 600 (1919). And soon the "rule" was "firmly
           established * * * that the appellate court has no control over a sentence
           which is within the limits allowed by a statute." Dorszynski, 418 U.S. at

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            440-441 (quoting Gurera v. United States, 40 F.2d 338, 340-341 (8th Cir.
            1930)); see id. at 441 ("[I]f a judge imposed a sentence within that range,
            his exercise of discretion * * * was not subject to challenge [on appeal].").
            The result was that in the United States--unlike every other "'nation in the
            free world'"--"the 'discretion of the judge . . . in (sentencing) matters [was]
            virtually free of substantive control or guidance.'" Id. at 440 n.14 (quoting
            law reviews).

     Amicus brief at 8-9. In short, perforce the Sentencing Reform Act of 1984, the regime of

     inadequately bounded sentencing discretion in the district court was not merely

     replaced; in answer to the accusation of "too little law," the regime of discretionary

     sentencing was emphatically repudiated and rejected by resolute congressional action.7

     Safe to say, discretionary sentencing is gone forever and, given the evidence from its

     history, deserves to be gone forever.

            In sum, faced with an ungoverned sentencing structure and the resulting

     disparate (and, perhaps, episodically invidious) sentences, Congress imposed the

     Sentencing Reform Act of 1984, a coordinating paradigm that brought predictability

     (arguably too much), deliberation (through the forums offered by both Congress and the

     Sentencing Commission), and a governing component of objectivity to sentencing.

     Notwithstanding the many imperfections noted by the many critics over the many years

     of the Sentencing Guidelines, the guidelines overcame the principal defect of the

     predecessor system,8 described by the senators' amicus brief as follows:




             7
                 The course of several years of congressional deliberation and the concurrent passiveness of the
     judiciary, including the Judicial Conference of the United States, is carefully recounted in Kate Stith and
     Steve Y. Koh, The Politics of Sentencing Reform: The Legislative History of the Federal Sentencing
     Guidelines, 28 Wake Forest L. Rev. 223 (1993).

             8
              But see Albert W. Alschuler, Disparity: The Normative and Empirical Failure of the Federal
     Guidelines, 58 Stan. L. Rev. 85 (2005).

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            That discretionary sentencing system produced astounding disparities
            among the sentences that were imposed on defendants convicted of the
            same offense with similar backgrounds within different judicial districts
            across the country and even among different judges in the same district.
            In addition, studies indicated that the disparities that proliferated under this
            sentencing system not only were arbitrary, but, in at least some cases,
            were based on the consideration of race, gender, and other illegitimate
            factors.

     Amicus brief at 4. The principal task now is to define "reasonable sentence" in a

     manner calculated not to impinge the (tenuous and strange9) requirements of Booker

     but calculated neither to repair to the rejected and disreputable regime of unfettered

     discretion nor to deploy a substitute regime that permits an incremental retreat toward

     disorder and disparity.

                                                        IV.

            Addressing tentatively the question of a "reasonable sentence," some courts

     cautiously conclude that the calculated guidelines sentence is "per se reasonable" in

     each instance; other courts conclude differently; some courts avoid the question.10 So,


             9
                 Professor Bowman finds the Booker regime "doctrinally peculiar" and perhaps "politically
     unsustainable over the long term." Frank O. Bowman, III, Mr. Madison Meets a Time Machine: The
     Political Science of Federal Sentencing Reform, 58 Stan. L. Rev. 235, 257, 262 (2005). Professors Allen
     and Hastert wonder if Booker represents another doctrinal misstep, from which a retreat will occur as the
     Supreme Court appreciates the treacherous course chosen (as the professors put it, perhaps altogether
     too tartly, when "ignorance [is] checked by good sense"). Ronald J. Allen and Ethan A. Hastert, From
     Winship to Apprendi to Booker: Constitutional Command or Constitutional Blunder?, 58 Stan. L. Rev. 195,
     198 (2005). Professor Klein finds that both the opinion for the "merits majority" and the opinion for the
     "remedial majority" in Booker "lack cohesion" and that the latter is "inexplicable on its face." Susan R.
     Klein, The Return of Federal Judicial Discretion in Criminal Sentencing, 39 Val. U. L. Rev. 693, 714-15
     (2005).

             10
                For a survey of the divergent opinion among the courts of appeals, see. e.g., United States v.
     Crosby, 397 F.3d 103, 115 (2d Cir. 2005) (refusing to "fashion any per se rules as to the reasonableness
     of every sentence within an applicable guideline or the unreasonableness of every sentence outside an
     applicable guideline"); United States v. Gonzalez, 134 Fed. Appx. 595, 598 (3d Cir. 2005) ("Although the
     Sentencing Guidelines are not mandatory, sentences within the prescribed range are presumptively
     reasonable."); United States v. Bartram, 407 F.3d 307, 1313 (4th Cir. 2005) (defining "reasonable under
     ordinary English usage as: being in agreement with right thinking or right judgment"); United States v.
                                                                                                (continued...)

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     whether a properly calculated guidelines sentence is "presumptively" or "per se" or

     "prima facie" a reasonable sentence has persisted in the circuit courts without definitive

     consensus, the prospect for which is explicitly threatened by the view that, assuming a

     declaration that a guidelines sentence is presumed reasonable, the guidelines might

     again feature an unconstitutionally "mandatory" aspect, impinging the requirements of

     Booker.11

             The search for meaning in the phrase (now a command) "reasonable sentence"

     causes to recur the vagaries of definition in language (Eliot's "intolerable wrestle with

     words and meanings"). The particular issue is illustrated by the question, "Is a hundred

     degrees Fahrenheit a reasonable temperature?" To abbreviate a long story, this

     apparently simple question is unanswerable unless some benchmark is available,

             10
                  (...continued)
     Mares, 402 F.3d 511, 519 (5th Cir. 2005) ("[I]t will be rare for a reviewing court to say . . . a sentence
     [within a properly calculated Guidelines range] is 'unreasonable.'"); United States v. Webb, 403 F.3d 373,
     385 n.9 (6th Cir. 2005) ("[W]e decline to hold that a sentence within a proper Guidelines range is per se
     reasonable."); United States v. Mykytiuk, 415 F.3d 606 (7th Cir. 2005) (holding that "any sentence that is
     properly calculated under the Guidelines is entitled to a rebuttable presumption of reasonableness");
     United States v. Lincoln, 413 F.3d 716, 717 (8th Cir. 2005) (holding that the defendant’s sentence "was
     within the guidelines range" and therefore "presumptively reasonable"); United States v. Winingear, 422
     F.3d 1241, 1246 (11th Cir. 2005) ("The government urges us to hold that sentences within the Guidelines
     range are per se reasonable, but we need not address whether or how much deference is owed
     sentences within the applicable Guideline range to determine that Winingear’s sentence was
     reasonable.").

             11
                Judge Bataillon provided immediate post-Booker expression of this reservation in United States
     v. Huerta-Rodriguez, 355 F. Supp.2d 1019, 2026 (D. Neb. 2005):

             The court cannot adopt the position advanced by the government that a criminal sentence
             should fall within the Guidelines range, absent highly unusual circumstances. Such
             wholesale application of the Guidelines as per se reasonable effectively converts the now-
             advisory guidelines to mandatory guidelines triggering unconstitutionality in the same way
             the Washington guidelines did in Blakely. . . . Similarly, the court will not preserve a "de
             facto" mandatory Guidelines scheme by affording the Guidelines a presumption of
             reasonableness in every case. Such an interpretation of the Booker remedy would
             circumvent Booker's substantive holding, and would defy the directive that the court
             consider the factors in 18 U.S.C. § 3553(a).

     (citation omitted).

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     without which benchmark the word "reasonable" remains forever indistinct; "reasonable"

     simply lacks definiteness in isolation. (A hundred degrees is pleasantly cool compared

     to the surface of the sun, oppressively hot compared to a winter afternoon in Thule, and

     quite normal, neither hot nor cold, for a summer day in Riyadh. Whence "reasonable"?)

           Similarly, when measuring a criminal sentence, the term "reasonable" lacks

     definition in isolation. Without more, no mere mortal can mount a dispositive argument

     (or even an informed argument) that a sixty-month sentence in a particular case of, say,

     the sale of methamphetamine is either "reasonable" or "unreasonable" (although highly

     credentialed persons may cling to both positions). Again, stated quite simply, the term

     "reasonable" is rendered meaningful only when appraised in light of some standard and

     in a detailed context of fact.

           When a criminal sentence is the issue, the term "reasonable" principally refers (in

     a civilized society) to the attribute of duration, measured in units of time. Whether a

     greater or fewer number of units is a "reasonable" number of units is not ascertainable

     without some standard or boundary or some other comprehensible frame of reference.

     Without this reference, the question of the abstract "reasonableness" of a sentence

     immediately and hopelessly mires in irresolvable arguments arising from, among other

     things, the several theories of criminal punishment, which have competed earnestly for

     hundreds of years without approaching a resolution. Discussing Section 3553(a), Judge

     Posner admirably encapsulates the problem in United States v. Dean, 414 F.3d 725,

     729 (7th Cir. 2005):




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            It is not at all helpful that many of the factors are vague and, worse
            perhaps, hopelessly open-ended. How far, for example, is the judge to
            delve into the "characteristics" of the defendant? How far is he to go in
            investigating the possibility of "unwarranted sentencing disparities"? Must
            he elaborate upon the meaning of "promote respect for law"? And must he
            discuss all the rival theories of "just punishment" (retributive, deterrent,
            rehabilitative, incapacitative)?

     These persistent imponderables will not relent to the ruminations of some district judge

     or even a panel of circuit judges or, finally, five or more Supreme Court justices--the

     "correct" theory underlying the practice of criminal punishment has proven durably

     elusive.

            Nonetheless, the criminal justice system must assess in each case a definite

     sentence of some specific duration, ignoring the sundry arguments arrayed by the

     detractors against the reasonableness of that duration and forsaking forever the sundry

     benefits claimed by boosters for all the sentences of every other possible duration.

     Acknowledging that the philosophers will quibble and rankle incessantly throughout all

     tomorrows (as during all yesterdays) and wrestling the need nonetheless to specify a

     sentence during today, the Constitution of the United States employs the practical

     device of investing in Congress, acting by the consent of the governed, the legislative

     power to describe the elements of a crime and fix the penalty that from time to time

     seems sufficient and just in light of the prevailing circumstances as assessed by the

     admittedly fallible humans elected to the House of Representatives and the Senate.12

             12
                 Persons combining to establish government by consent of the governed have provided for the
     popular resolution of irresolvable issues since the earliest days, allowing always that today's preferred
     resolution foreseeably will change from time to time perforce popular will. For example, the Mayflower
     Compact creates a "civil Body Politick" to "enact, constitute, and frame, such just and equal Laws . . . ,
     from time to time, as shall be thought most meet and convenient for the general Good of the Colony . . . ."
                                                                                                (continued...)

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            Oddly, after decades of allowing a district judge (one from among a second group

     of fallible humans) to impose any sentence within the statutory range fixed by those

     fallible humans in Congress and after the last twenty years of allowing only a narrow

     range of sentences within precisely delineated guidelines (promulgated by still another

     group of fallible humans), the present regime triggered by Booker (announced by yet

     another group of fallible humans) requires a "reasonable sentence," a regime that

     plainly demands some marker (presumably fixed by fallible humans, as well) by which to

     measure reasonableness.13 A statutory range (say, between five and twenty years)

     presents only a wide and undifferentiated outward boundary, but Congress and the

     President in 1984 emphatically insisted on a conspicuous and bold marker, something

     much more consistent and more predictable than just any sentence a district judge

     announces within the statutory range. In the Sentencing Reform Act of 1984 Congress

     and the President provided the Sentencing Commission and the Sentencing

     Guidelines.14


             12
                  (...continued)
     That plan, which cleverly anticipates tomorrow's grumbling about yesterday's (and today's) consensus,
     proved to offer considerable merit as a practical means of managing the unmanageable and
     conspicuously persists into today.

             13
                  The present "reasonable sentence" regime under Booker joins the pre-1984 regime of unguided
     sentences and the pre-Booker regime of closely guided sentences (and the post-Booker regime, when it
     arrives) as a subject of critical observation by the legal professoriate, who should remember that they are
     also fallible human beings, at least some of whose opinions are surely wrong. Because a fair and amiable
     respect (by one fallible human toward another) enhances the receptiveness of the scholar's audience to
     the scholar's criticism and because temperate and scholarly criticism immeasurably benefits the
     commonweal, best avoided are unbecoming and gratuitous jabs such as the recently published comment
     that "'prestigious' is hardly the adjective most observers of [the] federal criminal justice system would
     chose to capture the intellectual and political status of the current commission." Robert Weisberg and
     Mark L. Miller, Sentencing Lessons, 58 Stan. L. Rev. 1, 21 (2005). Prestige is not the final measure of
     wisdom, and humility is a quality with which some could use more familiarity.

             14
               Some appear to doubt that Congress rightfully predominates in criminal law matters. In
     discussing the majority opinion in Booker, Professor Klein "suggests" that "this five justice block [note
                                                                                                   (continued...)

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            The Sentencing Guidelines arrive at a specific sentence by describing a matrix of

     sentencing ranges and permitting migration among offense levels and criminal history

     categories based on a set of attributes to which a description is assigned by the

     guidelines and to which an incremental, imprisonment consequence attaches. In

     contrast, Booker presents the necessity to ascertain whether a specified sentence is

     "reasonable" when appraised in juxtaposition to the theoretical, calculated guidelines

     sentence, which itself describes completely no actual criminal episode and no single

     criminal, but provides only a set of characteristics and a set of consequent results that

     approximate, to some indeterminate extent, an actual crime and criminal. Viewed one

     way, the guidelines express only a range of imprisonment consequences that attach to

     a hypothetical set of circumstances that are fewer and more general than all the

     circumstances of any one criminal episode or all the characteristics of any one criminal.

     This is no more nor less than the guidelines' providing as a datum of comparison the

     fact of a hypothetical sentence assessed by a hypothetical judge in a hypothetical case.

     Many systems for compiling sentencing data for comparison and many standards for

     comparison can be imagined; a governable system of assessing a "reasonable

     sentence" without any standard for comparison is unimaginable.

            The issue for the district court in the first instance is whether the circumstances of

     the offense at issue and the characteristics of the offender at hand mitigate, aggravate,

     distinguish, or supersede the presumed but confined circumstances and attributes



             14
                  (...continued)
     omitted] hoped to revive judicial discretion in federal sentencing in the wake of what they considered the
     rude, disruptive, and unwise coup over criminal sentencing that Congress accomplished in the Sentencing
     Reform Act of 1984." Susan Klein, The Return of Federal Judicial Discretion in Criminal Sentencing, 39
     Val. L. Rev. 693, 695 (2005).

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     arrayed illustratively in the guidelines. But, because the guidelines neither fully nor

     dispositively prescribe a sentence for any particular offender or offense, Booker

     presents no occasion to announce any attribute of the theoretical guidelines sentence,

     including whether it is "per se" or "presumptively" or "prima facie" reasonable.15 The

     calculated guideline sentence is the essential but theoretical marker by which some

     actual sentence is measured and without which the "reasonable sentence" regime will

     descend inevitably toward disorder; the calculated guideline sentence, a mere

     abstraction, presents an event for comparison and measurement, not an event requiring

     characterization. (Similarly, a twelve-inch ruler provides a means to measure length

     and offers no occasion to characterize the ruler itself or its twelve inches as

     presumptively satisfactory or reasonable as one foot, which by changing convention

     could have been longer or shorter; the "twelve inch-ness" of a foot is neither "per se"

     reasonable nor "per se" unreasonable.)

                                                         V.

            Although a "reasonable sentence" and the calculated guidelines sentence,

     because not identical, intermittently diverge, a large intersection occurs between the

     sets described by the two functions. Again, although one is not invariably the other, the

     degree of proximity, including frequent coincidence, of the two expedites an assessment

     of the qualities of one assayed in regard to the other.




             15
                Perhaps for describing the calculated guidelines sentence, the phrase "reasonable as far as it
     goes" or, more economically, "conditionally reasonable," "contingently reasonable," or "reasonable to the
     extent specified," is more accurate and less mischievous than "per se reasonable." In all events, the
     selection of a descriptive characterization remains superfluous.

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           First, as courts have already determined, a reasonable sentence is informed by

     an advisory sentence correctly calculated under the Sentencing Guidelines, which

     provide the essential benchmark in comparison to which the notion of reasonableness is

     given meaning and sense (one might as well attempt to describe the "northerliness" of

     some point on the earth without reference to the equator as to describe reasonableness

     without a benchmark such as the Sentencing Guidelines). Implicit in the necessity of an

     advisory sentence is recognition that the Sentencing Commission, in promulgating

     guidelines in accord with the statutory mandate, has deliberated and resolved for

     purposes of a "reasonable sentence" the application of the factors arrayed at 18 U.S.C.

     § 3553(a) to the extent that the Sentencing Commission has promulgated a guideline or

     policy statement addressing a specific attribute of a particular offense or offender. See

     United States v. Wilson, 350 F. Supp.2d 910 (D. Utah 2005) (Cassell, J.), and United

     States v. Wilson, 355 F. Supp.2d 1269 (D. Utah 2005) (Cassell, J.). In other words,

     because Congress instructed the Sentencing Commission to evaluate and apply 18

     U.S.C. § 3553(a) as an essential element of the effort to eliminate disparity and other

     sentencing injustice, the Sentencing Commission's determination of policy is a

     necessary bound within which a sentencing court must assess each criminal sentence.

     This leaves the district court unfree to visit anew each tenet of federal sentencing policy

     on the occasion of each sentencing and, most especially, unfree to implement in the

     well of the judge's court the judge's discrete designs for criminal justice, informed

     primarily by the judge's singular doctrines. Because each of several hundred district

     judges might enjoy the same liberty, this bold regime would promote dizziness in the




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     judiciary and trigger a sudden injection of statutory discipline from an intensely

     unamused Congress.

            Second, although a correctly calculated guidelines sentence invariably informs a

     "reasonable sentence" and although the announced and received policies of the

     Sentencing Commission warrant deference by the sentencing judge (who, although

     famously "independent," is not, after all, "sovereign"), the sentencing judge may migrate

     away from the advisory sentence to the extent that some articulable (and articulated),

     singular, and urgent attribute of a particular offense or offender creates a compelling

     centrifugal force to which the calculated guidelines sentence justifiably, but only

     episodically, yields. By definition, a "reasonable sentence" is not established in

     contravention and defiance of settled congressional or Sentencing Commission policy,

     both of which command deference in sentencing. To avoid unacceptable disparity,

     conformity to announced policy is an irreducible minimum (on which Congress

     predictably will insist).

            In addition to increasing disorder, an individual judge's visiting anew the factors

     arrayed in 18 U.S.C. § 3553(a) is an impossible undertaking because, as Judge Posner

     observes in Dean, a definitive exploration of the themes in section 3553(a) is rendered

     forever elusive by "the indeterminate and interminable character of inquiry into the

     meaning and application of each of the 'philosophical' concepts in which section 3553(a)

     abounds," a task to which no judge is equal. 414 F.3d at 729. The "seriousness of the

     offense," requisite "respect for the law," "just punishment," "adequate deterrence,"

     "protect[ion of] the public," and the other matters arrayed at section 3553(a) are a

     theoretical rendition of the supposed attributes of the (mythological) perfect sentence, a

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     shorthand surrogate for all the arguments about punishment that have raged over time

     without resolution. In reality, Section 3553(a) differs not a whit from Congress's

     (hypothetically) directing the Internal Revenue Service to "collect tax at a fair rate" and

     stating in a revenue analog to section 3553(a) that the rate "shall be no more than

     required to pay for necessary and beneficial public programs, shall be disproportionally

     burdensome to neither the poor nor the rich but reach all those able to pay, shall not be

     so great as to depress productive and publicly desirable economic activity or to deter

     individual initiative but shall touch each aspect of gainful economic activity, and shall be

     calculated to enhance economic growth and technological advancement without

     favorable treatment for the rich or powerful." In short, both Section 3553(a) and this

     hypothetical directive to the IRS say, in so may words, "You do it, but do it right!"

     Without the mediating intervention of the Sentencing Guidelines (or an equivalent

     benchmark), Section 3553(a) is effectively no practical help in fashioning a sentence;

     without more, Section 3553(a) is fancy default. Section 3553(a) neither prescribes nor

     prohibits a particular sentence any more than the hypothetical revenue code prescribes

     or prohibits any particular tax rate. In contrast, the Sentencing Guidelines render the

     aims of Section 3553(a) comprehensible and manageably accessible to a sentencing

     judge.

              Third, a "reasonable sentence" avoids the creation by a particular judge of an

     identifiable class of either favored or disfavored offenders or offenses, to which the

     judge systematically and repeatedly assigns an atypical sentence. For example, a

     "reasonable sentence" conforms to the assessment of severity assigned to an offense

     in the first instance by Congress and later by the Sentencing Commission, which

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     assessments together implement Congress’s constitutional authority to specify the

     elements of an offense and prescribe a penalty appropriate to the attendant

     circumstances of the offense and in the prevailing circumstances of the country (which

     is to say, for example, that a sale of methamphetamine in a nation with a history devoid

     of methamphetamine sale might provoke a congressional assessment of severity

     markedly different from a sale of methamphetamine in a nation falling prey to a virulent

     plague of methamphetamine, although the two presumed sales of methamphetamine

     are, in a limited sense, identical). So, observing the congressional assessment of

     severity precludes a judge’s, for example, assessing only probationary sentences in

     narcotics cases simply because the judge adheres vigorously to a studied belief (shared

     by informed and earnest advocates of disparate political persuasions) in de-criminalizing

     narcotics offenses and believes (for the reasons arrayed at 18 U.S.C. § 3553(a), at least

     as this hypothetical judge understands them) that prolonged incarceration in a "drug

     case" is unreasonable. Similarly, observance of the congressional assessment of

     severity precludes a judge’s assessing (for the reasons arrayed at 18 U.S.C. § 3553(a),

     at least as this hypothetical judge understands them) the maximum statutory penalty in

     every case of the sale of narcotics, a sentence prompted by the judge’s observation of

     "crack babies" in the neo-natal intensive care unit of a local hospital, addicted teenagers

     in the local juvenile detention facility, and the abandoned children of addicted parents

     languishing in a downtown church’s respite facility, all of which cements the judge’s

     conclusion (shared by informed and earnest advocates of disparate political

     persuasions) that narcotics sales constitute an undeclared but unlimited war, conducted




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     against the next generation of Americans at the instance of international drug cartels in

     unrestrained pursuit of money and power.

           Observing the congressional assessment of severity, as refined by the

     Sentencing Commission, avoids the mischief implicit in a judge's establishing, based

     upon individual conclusions that stand athwart the conclusions of Congress and the

     Sentencing Commission, categories of offenses and offenders that receive (and

     deserve, in the judge's singular view) a programmatically distinct sentence (either

     greater or lesser). In truth, for a judge to independently designate categories of

     offenders and offenses for singular treatment is tantamount to the establishment of

     sentencing policy (as opposed to fixing a sentence, the nuanced application of existing

     policy to a particular offense or offender in an individual case). However, neither an

     individual district judge nor a panel of appellate judges enjoys the authority to set

     sentencing policy for the United States, a power reserved to Congress and invested, in

     part, by statute in the Sentencing Commission.

           As stated in Judge Selya's opinion (garnished, as always, by his delightful and

     exotic diction) in United States v. Pho, 2006 WL 20574 at *8 (1st Cir. 2005) (which

     appeared as this order neared completion):

           In our constitutional system, the power to define penalties for federal crimes
           belongs to the legislative branch of government, not the judicial branch.
           United States v. Evans, 333 U.S. 483, 486 (1948). While federal courts
           possess the discretion to tailor individual sentences within the boundaries
           set by the statutory framework, that discretion is subject to the limitations
           imposed by Congress. See Mistretta v. United States, 488 U.S. 361, 364
           (1989). The creation of the Sentencing Commission and the inauguration
           of a guideline sentencing scheme were valid exercises of congressional
           authority to fix penalties for federal crimes and, concomitantly, to cabin
           judicial discretion.



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     Stated simply, because a judge lacks authority to fix sentencing policy but bears

     authority to specify a sentence only in accord with Congressional directives, a

     "reasonable sentence" neither departs from congressional policy nor proceeds from a

     judge-made principle that establishes a class of either favored or disfavored offenders

     or offenses and, therefore, constitutes a prohibited attempt by the judge to arrogate to

     himself (and to dislodge from its rightful constitutional residence) the power to

     promulgate sentencing policy. Needless to say, whether the judge disapproves of the

     sentencing policy of the United States is a matter of no consequence unless and until

     the judge's expressed reasons for the disapproval persuade the constituted authority to

     change the policy. A judge may disapprove of the sentencing laws of the United States

     and a judge may articulate the disapproval powerfully to the public, but a judge may not

     renounce or defy the laws of the United States in imposing sentences (or doing anything

     else).16

            Stated somewhat differently, a sentence manifestly lacks legitimacy if the

     sentence is premised upon policy fixed by a judge, i.e., a policy enforcing the will of a

     judge rather than the will of the people conveyed through legislative action. The

     deprivation of liberty for a term sanctioned only by a single life-tenured judge, rather

     than sanctioned manifestly by a body of popularly elected legislators, lacks the

     reinforcement of deliberative legitimacy. In fact, the sentencing regime before the

             16
                  In United States v. Angelos, 345 F. Supp.2d 1227 (D. Utah 2004), a powerful opinion both
     criticizing and enforcing the statute providing a consecutive and mandatory minimum sentence for
     possessing a firearm during the commission of a drug trafficking crime, Judge Paul G. Cassell exemplifies
     the district judge as informed dissenter from the effect of prevailing law, articulate advocate of
     improvement in the administration of justice, and conscientious constitutional officer of the United States.
     Perhaps Judge Cassell's exemplary effort in Angelos will confirm the truth of the often-quoted statement
     from President Grant's first inaugural address that, "I know no method to secure the repeal of bad or
     obnoxious laws so effective as their stringent execution."

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     Sentencing Reform Act manifested precisely this deficiency because a too large range

     of permissible sentences both purported to sanction every single sentence within the

     range and, conversely, provided adequate sanction to no particular sentence within the

     range. Again, neither judge nor justice (or a group of them or all of them in concert)

     enjoys the constitutional capacity to authorize for a term the deprivation of liberty

     (although the judge imposes the deprivation), a power exercised in a constitutional

     republic only by the body politic acting through elected representatives. So, as the

     range of permissible sentences widens and as the proximity lessens between the

     imposed sentence and any legislatively prescribed sentence, the immediacy and

     consequent legitimacy of legislative sanction lessens apace. For example, a legislative

     prescription for a stated offense of a range of imprisonment between zero and twenty

     years is not an effective legislative prescription of any particular sentence within the

     range and is without the capacity to legitimize any particular sentence because the

     range purports to legitimize two or more sentences that reason dictates are not

     possible, alternative, just sentences for the same offense. In short, if a sentencing

     regime purports to legitimize both a sentence from one judge of five years and a

     sentence from another judge of twenty years for the same offense and an

     indistinguishable offender, the legislative authority has legitimized effectively neither

     sentence, even if both are within the stated range.

           Viewing the array of pre-Sentencing Reform Act sentences from the vantage of a

     district judge, Judge Frankel found the sentences impermissibly disparate and lawless.

     From a slightly different vantage and with equal disapproval of the sentences, one might

     have identified the dominant defect as illegitimacy, ungoverned sentences imposed by

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     judges acting willfully without the legitimizing force of an ascertainable legislative

     prescription authorizing the deprivation of liberty for a time either certain or, at least,

     ascertainable and reasonably confined to a stated range. Precisely this essential

     narrowing (although perhaps too great) follows the promulgation of the Sentencing

     Guidelines and lends unmistakable legislative legitimacy to every guidelines sentence.

     That legitimacy is systematically eroded by excursions away from the guidelines

     sentence, if the excursion is based on a judge's defiance of established policy and on

     the substitution and implementation of the judge's policy rather than on some

     articulated, singular, and pressing aspect of the case, the accommodation of which

     does not affront legislatively established policy.

           A review of the opinions of some district judges (some of which opinions include,

     for example, excellent and studied elaboration of the forceful considerations gravitating

     against aspects of present sentencing policy) summons to mind an observation by the

     late Willmoore Kendall (a political scientist, commentator, and controversialist) in his

     (and George Carey's) The Basic Symbols of the American Political Tradition (Louisiana

     State Univ. Press, 1970):

           One of the virtues of a virtuous people . . . , one of the virtues that, as
           individuals, they must cultivate, is that of not expecting the political order
           . . . to reflect and act upon the beliefs that they, as individuals, hold most
           strongly. They are free, as individuals, free over in the social order, to
           plead the case for the beliefs that they hold most strongly. Unless they
           make solemn bores of themselves, we the people will listen to them. They
           can try through the process of persuasion to build a consensus around their
           strongly held beliefs, but one virtue they must cultivate is that of not being
           in too much of a hurry, and another is not expecting other people, their
           neighbors, to give up ones right to their own strongly held beliefs.




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     A sentencing judge after Booker (at least for the moment) has both the immediate

     option and in many cases the temptation to venture repeatedly and systematically away

     from the advice of the Sentencing Guidelines in pursuit of policy that the judge

     perceives as compelling but that neither Congress nor the Sentencing Commission

     perceives as compelling. Although the judge has both a splendid opportunity to formally

     publish criticism of sentencing policy and a duty to fashion a "reasonable sentence" in

     light of all the particulars of a case even if that sentence diverges somewhat from the

     advisory sentence, a disciplined and temperate judge in imposing a "reasonable

     sentence" will observe announced policy and heed the advice of the Sentencing

     Guidelines, while remaining alert to each aspect of a particular case that might

     compellingly suggest some divergence. However, in each case the sentencing judge

     should heed history and practice restraint, recalling the primacy of Congress in

     establishing crimes and penalties, recalling Congress's rejection of the regime of

     discretionary sentencing, recalling Congress's careful establishment and supervision of

     the guidelines regime, and recalling that Congress retains the constitutional authority to

     imperatively arrange sentencing law to conform to congressional will. Commenting on

     the tension among the branches of government, Professor Kendall observed that:

           We have a duty, if we are Supreme Court justices, not to force a showdown
           with Congress--not so much because we will lose, although we will, but
           because the political system held up to us by The Federalist obviously
           cannot survive such showdowns.

     Kendall at 142.

           Admittedly, the health of the republic is not threatened severely by the lineaments

     of sentencing, but it is a matter of consequence to the republic if constitutional officers



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     no longer regard the plenary arrangements of government with deference and delicacy,

     preferring instead to make a run at commanding the pertinent scene, if only

     ephemerally, until a greater force is mustered. In truth, Congress in 1984 enacted a

     statutory sentencing arrangement calculated to superimpose a formidable coordinating

     paradigm on the unruly field of federal sentencing and, Booker notwithstanding, a

     sentencing judge perforce the oath of the office owes Congress and the citizenry a

     faithful approximation of that paradigm.

            In sum, a "reasonable sentence" proceeds from an accurate calculation of the

     advisory guidelines sentence; migrates from that calculated sentence only in the

     demonstrable presence of an articulable, singular, and compelling attribute of the case

     that persuasively but episodically mitigates, aggravates, distinguishes, or supersedes

     the circumstances assumed in the guidelines sentence but offends no legislative

     sentencing policy, which includes the policy of the Sentencing Commission; and creates

     no identifiable class of favored or disfavored offenses or offenders, the establishment

     and enforcement of which by a judge constitutes an impermissible exercise of the power

     to set sentencing policy, a legislative prerogative. Again, as stated by Judge Selya in

     Pho:

            Congress has directed the Commission to devise policies that "avoid[]
            unwarranted sentence disparities," while at the same time providing
            "sufficient flexibility to permit individualized sentences when warranted by
            mitigating or aggravating factors." 28 U.S.C. § 991(b)(1)(B) (emphasis
            supplied). The clear import of this statutory framework is to preserve
            Congress's authority over sentencing policy and to guarantee that the
            exercise of judicial discretion over sentencing decisions be based on case-
            specific circumstances, not on general, across-the-board policy
            considerations.




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     2006 WL 20574 at *9.17 In other words, a sentencing judge owes the legislative

     authority the good faith enforcement of the law, a faithful approximation of the paradigm.

            The district judge considering a "reasonable sentence" compares the calculated

     guidelines sentence, which states a reasonable sentence for the set of offense and

     offender characteristics assumed by the Sentencing Commission in stating the

     guidelines sentence but which either assumes fewer than all the offense and offender

     characteristics of any particular case that presents for sentencing or assumes a

     characteristic only to an extent inadequate to capture the truth of the present case.

     Accepting the legal and policy assessments of Congress and the Sentencing

     Commission, the district judge examines the actual offense and the actual offender to

     identify any attribute outside the contemplation of the Sentencing Guidelines or

     inadequately contemplated by the Sentencing Guidelines. The district judge remains



             17
                Immediately after issuance of Pho, Professor Douglas Berman published commentary at
     "Sentencing Law and Policy," http://sentencing.typepad.com, an excellent and provocative forum widely
     consulted for current and trenchant analysis of sentencing issues. Professor Berman states as part of his
     January 6th commentary that:

             [T]he Pho opinion elevates the perceived intent of Congress over the plain text of 18
             U.S.C. § 3553(a), which the Booker Court identified as the guide for district court
             sentencing decisions and for circuit court review of whether a sentence is reasonable.
             (Where is a textualist like Justice Scalia when we need him?)

     http://sentencing.typepad.com/sentencing_law_and_policy/2006/01/whats_wrong_wit.html.

               Pho requires a district judge to conform to the Sentencing Guidelines' notorious 100:1 equivalency
     ratio between crack and powder cocaine; Professor Berman points to the aspirational language of 18
     U.S.C. § 3553(a) as empowering a district judge to alter an unreasonable guidelines provision (the 100:1
     ratio particularly). Although Professor Berman's desire to ameliorate the consequences of the 100:1 ratio
     is entirely wholesome, Congress's more particular and immanent statutory creation of a Sentencing
     Commission with the authority (indeed, the duty) to promulgate regulations conforms to a pattern familiar
     in modern government: primary interpretation of a statute entrusted to an agency empowered to
     promulgate interpretive regulations. The Sentencing Commission is admittedly singular in many respects,
     but the interposition of a mediating authority between the district judge and the "vague" and "hopelessly
     open-ended" (see Judge Posner in Dean) provisions of Section 3553(a) provides a mechanism necessary
     to avoid a cacophonous report from the field of sentencing judges.

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     free to gauge the force of this attribute and adjust the guidelines' recommendation to

     account for the district court's appraisal of the force of this attribute. In other words, the

     district court is free to transform the hypothetical and incomplete guidelines calculation

     into a reasonable sentence that answers each attribute of an actual offense and an

     actual offender. The district judge is not free to establish sentencing policy, trump

     Congress or the Sentencing Commission, or exhibit the badges of sovereignty to which

     the office of judge is unentitled.

                                                   VI.

           At his re-sentencing on January 6, 2006, and at earlier stages, Valencia-Aguirre

     argued for the imposition of a "reasonable sentence" below the calculated guidelines

     sentence. Valencia-Aguirre focuses upon both the historical circumstances of his life in

     Colombia and the oppressive consequences to his family in the event of his lengthy

     imprisonment in the United States. Valencia-Aguirre emphasizes that, as a mere child,

     he was compelled to enter the workforce by the merciless and relentless poverty long

     dominant in his region of Colombia, and he confirms that the survival of his family has

     depended on his obtaining and retaining employment, in latter years as a fisherman.

     Valencia-Aguirre accepted employment on this felonious overseas voyage because the

     pay offered the prospect of temporary relief for his immediate family, including his infant

     daughter, from the distress and anguish of their persistent and inclement

     circumstances. A mere crewman on the voyage that led to his arrest, Valencia-Aguirre

     traveled under the supervision of others at all pertinent times. He sailed without a

     detailed knowledge of the criminal enterprise of which he was part, the principals who

     employed him, or the persons or place toward which the voyage progressed. Valencia-

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     Aguirre brought no particular knowledge or skill to his employment and contributed to

     the voyage nothing other than his presence and his capacity for manual labor, if

     needed. To some extent, which varies from person to person (including among

     legislators and federal judges), Valencia-Aguirre’s history, which stirs in the listener

     unease at the listener’s probable course in equivalent circumstances, evokes both a

     palpable measure of human sympathy and a concomitant allowance for human frailty

     that seems (to say the least) to augur in favor of a more clement sentence.

           On the other hand, Valencia-Aguirre received premium pay as an inducement to

     his undertaking as an ocean-going courier serving at the behest of and in behalf of a

     ruthless and bloody international cocaine industry. Common sense distinctly disfavors

     the conclusion that the captains of the international cocaine industry, driven by the high

     octane fuel of cash, will casually entrust tens of millions of dollars worth of high purity

     cocaine into the roving custody of a crew of eight persons, any one of whose loyalty and

     seamanship is unproven or unreliable. Of course, the two tons of cocaine aboard

     Valencia-Aguirre’s vessel were due to be "cut" (or "stepped on," as the traffickers say)

     and to become not less than four tons of "street quality" cocaine before sale to retail

     consumers (including the children and other loved ones of Americans, whose views

     influence the establishment of the criminal laws). The offense level of 38, assigned to

     Valencia-Aguirre by the Sentencing Guidelines, assumes only 150 or more kilograms of

     cocaine. Obviously, Valencia-Aguirre’s cocaine cargo was almost twelve times greater

     (until the dealers "step on" it) than the minimum amount necessary to qualify for an

     offense level of 38. Probably neither Congress in enacting the pertinent statutes nor the

     Sentencing Commission in promulgating the pertinent guidelines considered the


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     condign punishment for the importation of two tons of high purity cocaine. Nonetheless,

     along with offense level 38 and absent any confirmable criminal history, Valencia-

     Aguirre receives the dramatic benefit, perhaps deserved, of Criminal History Category I.

     It suffices for the present purpose to note that, to some extent, which varies from person

     to person (including among legislators and federal judges), the history of Valencia-

     Aguirre’s crime against the United States and its citizens, some of whom are highly

     vulnerable, evokes some measure, greater or lesser, of human fear for the health of our

     friends, our neighbors, and ourselves and prompts grim determination to restrain and

     defeat the perpetrators, all of which seems (to say the least) to augur in favor of a more

     punitive sentence.

           Valencia-Aguirre presents a history in many respects typical of criminal cases.

     He has encountered burdensome and disproportionate difficulties in life and his

     circumstances include innocents who depend upon him for subsistence in an embattled

     and depressed community. Also, he has participated on an acutely large scale in a

     crime both directed against the well-being of a large number of persons in the United

     States and assessed as quite severe by the United States. Representing the directed

     sense of the community (at whom the crime is directed and most of whom experience

     acute difficulty in their own lives and the lives of their loved ones), the legislative

     authority of the United States, in concert with a deliberative mechanism created for the

     purpose and guided by the provisions of 18 U.S.C. § 3553(a), has promulgated a

     proposed range of sentences established for a time as the recommended range of

     sentences for Valencia-Aguirre's crime. Although in the exceptional case the search for

     a "reasonable sentence" may lead incrementally away from the recommended range,


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     Valencia-Aguirre's case offers no feature that demands an excursion outside the range

     established, which in this case implements 18 U.S.C. § 3553(a), if not singularly well, at

     least as well as any other sentence, but in either case with the legitimizing imprimatur of

     the legislative authority.

                                                VII.

           In consideration of these and other matters, including the pre-sentence report, the

     comments of the attorneys, and the statements by Valencia-Aguirre in allocution, I find

     that the sentence emanating from the Sentencing Guidelines adequately serves the

     objectives arrayed at 18 U.S.C. 3553(a), and I again sentence Valencia-Aguirre to two

     concurrent terms of 135 months’ imprisonment, one term for each of the two counts of

     the indictment to which he plead guilty. The details of the sentence were announced at

     the sentencing hearing.

           ORDERED in Tampa, Florida, on January 9, 2006.




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